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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

MISTY CARMICHAEL,

       Plaintiff,

v.                                               CASE NO. 3:17-cv-576-J-34MCR

COSMOS HOSPITALITY, INC., et al.,

          Defendants.
________________________________/

                                       ORDER

       THIS CAUSE is before the Court on Defendants’ Notices of Taking

Deposition. (Docs. 58-63.) Discovery materials “must not be filed until they are

used in the proceeding or the court orders filing.” Fed. R. Civ. P. 5(d)(1); see also

M.D. Fla. R. 3.03(c). Because the Court has not ordered the parties to file the

discovery materials and it does not appear that filing is necessary at this time,

they are due to be stricken.

       Accordingly, it is ORDERED:

       The discovery materials (Docs. 58-63) are STRICKEN without prejudice to

filing at a later time if necessary.

       DONE AND ORDERED at Jacksonville, Florida, on February 20, 2018.
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Copies to:

Counsel of Record




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